Case o-Lo-/0004-reg VoCcl Filed U2/Vo/lo

TURMOIL Tilele mess [tae iaae tt eee cto

United States Bankruptcy Court for the: t
EASTERN ___ District of NEW YORK
(State)
Chapter _7

Gase number (if known):

 

Official Form 205

Involuntary Petition Against a Non-Individual

entered O2/Oo/10 LO Lsio/

C) Check if this is an
amended filing

{2/16

 

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an individual (Official Form 105). Be as complete and accurate as possible. If
more space Is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if

known). ‘

a Identify the Chapter of the Bankruptcy Code Under Which Petition ts Filed

 

1. Chapter of the Cheek one:
Bankruptcy Code
AY Chapter 7
C} Chapter 14

BREE scntiry the Debtor

 

2, Debtor's name MILLENNIUM HEALTHCARE,

3. Other names you know
the debtor has used in
the last 8 years

 

 

 

include any assumed
names, trade names, or
doing business as names,

4. Debtor's federal

Employer identification CF Unknown
Number (EIN)
ab “3.2.2 93.5.8

EIN

5. Debtor's address Principal piace of business

68 South Service Road

Number Street

Suite 100
Melville

 

City State ZIP Code

 

County

Official Form 205

INC.

Involuntary Petition Against a Non-Individual

Mailing address, if different

 

Number Street

 

P.O, Box

 

City State ZIP Code

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

page 1
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

 

Debtor www.millenniumhcs.com/ Case number ttinown

Name

6. Debtor's website (URL)

 

a Corporation (inctuding Limited Liability Company (LLC) and Limited Liability Partnership (LLP})

7, Type of debtor
©) Partnership (excluding LLP)

 

C2 Other type of debtor. Specify:

8. Type of debtor's
business

Check one:
C2) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
Cl Railroad (as defined in 11 U.S.C. § 101(44})
Q) Stockbroker (as defined in 11 U.S.C. § 101(53A)}
Q Commodity Broker (as defined in 11 U.S.C. § 101(6)}
[J Clearing Bank (as defined in 11 U.S.C. § 781(3)
XG None of the types of business listed.
(I Unknown type of business.

9. To the best of your X43 No
knowledge, are any
bankruptcy cases OC] Yes. Destor Relationship
pending by or against
any partner or affillate

 

District Date filed Case number, if known,

fee

 

 

 

 

of this debtor? MM TOD TYYYY
Debtor Relationship
District Date filed Case number, if known
MM iODIYYYY
Report About the Case
19. Venue Check one:

Xe Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any ather district.
Oa bankruptcy case conceming debtor's affillates, general partner, or partnership is pending in this district.

11. Ailegations Each petitioner is eligible to file this petition under 14 U.S.C. § 303(b}.
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a}.

At least one box must be checked:

Ff The debtor is generally not paying its debts as they become due, unless thay ara the subject of a bona
fide dispute as to liabitity or amount.

Cl within 120 days before the filing of this petition, a custodian, other than a frustee, receiver, or an
agent appointed or authorized to take charge of jess than substantially ail of the property of the
debtor for the purpose of enforcing a tien against such property, was appointed or toak possession.

12, Has there been a 363 No

transfer of any claim
against the debtor by or Cl Yes. Attach alt documents that evidence the transfer and any statements required under Bankruptcy

to any petitioner? Rule #003(a).

Official Form 205 Invofuntary Petition Against a Non-Individual page 2
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

 

 

 

 

Debtor Case number (i inann)
Nana
13, Each patitioner's claim Name cf petitioner 9°.) 3 Sol: "Nature of petitioner's claim, "Ss amount of the otaim
SP AA et Tess Wage Se tbe EO , above the vaiue of
. oo os ae any flen
GEMINT MASTERFUND. TTD, =.“ - . UNPAID NOTES  § 224,478.25
SCS TACTICAL ALLOCATION FUND INPAID Nores 3_.40,232.56

 

 

JOE GIAMICHAEL/DIMITRY SHAPTRO UNPAID NOTES $230,000.90

Total of petitioners’ claims 5

 

if more space is needed to list potitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the tap of each sheet. Following the format cf this form, set out the information required in Parts 3 and 4 of the form for cach
additionaf petitioning creditor, the petitioner's claim, the petitioners representative, and the petitioner's attorney. Include the
statement under penalty of parjury set out in Part 4 of the form, followed by each additlonal Patitioner’s (or representative's) signature,
along with the signature of the Petitioner's attorney,

CE woven for Rellot

 

   

 

 

 

 

 

 

 

 

 

 

 

 

WARNING - Bankcuptcy fraud is a serious orime. Making a false statement in connaction with a bankruptcy case can result in fines up to :
$500,000 of imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1344, 1519, and 3571, ’ :
Petitioners request that an order for relief be entered against the debtor under the chapter of 14 U.S.C, specified in this petition. Ifa
petitioning creditor is a corporation, attach the corporate ownership statemant required by Bankruptey Rule 107 0(b), If any petitioner ig a i
foreign representative appointed in a foreign proceeding, attach a certified capy of the order of the court granting recognition,
! have examined the information In this document and have a reasonable belief that the information is true and correct, .
Petitioners or Petitioners’ Representative . “Attorneys | |
Name and malting address of petitioner :
Gemini Masterfund, Lta. Y ae Hiitehel Greene
NARs Gemini Strategies LLC, Ine. i Robinson Breg Leinwand Greene
s Genovese & Gluck P.c,
619 South Valcan Avenue, Suite 203 }  Flamname, ¥ any
Number Street & .
Encinitas CA 92024 ;  _878 Third Ave., 9th Fl.
City Slate ZIP Code i Number Street
New York NY 10022-0123
Name and mailing address of petitioner's representative, if any Gly State 2iP Code
Steven Winters ’ President i Contact phone 212°603-6399 email ang@robinsonbrog.con
Name 1 :
c/o Gemini Strategies LLC, Inc. x
t Bar umber
Number Street
wn bas Ch : State
City State ZIP Code 4

' declare under penatty of perjury that the foregoing és true and correct. :

O2/ @ SY 2016
MM {O07 ¥

x Lhe

Signature of petitioner or representative, including representative's tite

  

Executed on

 

—~j—f
Signature of attorney

 
  

Bate signed

Pela ok eaten ane

MM TDS EYYYY

PRM Atte teeta abe A ee eh ole dae tg a omits tenon vo cama

 

Official Form 205 involuntary Petition Against a Non-Individuat page 3

 
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

Detter ; Cage number (it mewn,
are .

Name and mailing address of petitioner
SCS Tactical Allocation Fund ° A. Mitchel] Greene
: Printed name

Name
Robinson Brog Leinwand Greene
& Gluck PC.
Firm name, if any

 

116 South Franklin Street

 

 

 

 

Number Street
Rocky Mount sc 27804 4 875 Third Ave., 9th Fl.
City . State ZIP Code : Number = Street
, *  _New York NY 10022-0123
City . State ZIP Code

Name and mailing eddress of petitioner's representative, if any

Katherine M. Honey, President

Contact phone .212-603-6399 = ¢_,,4 amg@robinsonbrog.com

 

 

 

 

Name
116 South Franklin Street Bar number
Number Street

State
Rocky Mount sc
City State ZIP Cade

| declare under penalty of perjury that the foregoing is true and correct,

 

 

 

Executedon _ 2 : x: {— =
MM 7 D0 TYYYY t Signature of attarnay
x
nar 2. Date signed
Bignature of petitioner or representative, includiiopresentatve's fitte MM 7 DD TYYYY

setengteemarmaienterteey et tte ww Me Late ate le Hie UW oF Gr ERS EM TREN h daleetcs ania eek

Name and malling address of petitioner

A. Mitchell Greene
woe Glamiohasl]/Dimit ry : -
Name itry Shapira : Painted name

Robinson Brog Leinwand Greene

 

‘Genovese & Gluck P.C.

40 Walt Street, Suite 9839 : Firm name, if any -

 

 

 

 

Number Street
New_York _ny 10005 _-_ 875 Third Ave., 9th Fi.
City State ZIP Code i Number Street
» New York NY 10022-0123

 

Name and malfing address of petitioner's representative, if any City State 2iP Code

Contact phone _212-603-6399 f.4, amg@robinsonbrog.com

 

Joe Giamichael
Name

40 Wall Street, Suite 2839
Number Street

 

Bar nurnber

 

New York _NY 1
City State aiP Code

[ declare under penalty of perjury that the foragoing is true and correct. :

 

Executed on

 

MM / BO /¥YYY Signature of attorney

x

Signature of petitioner or representative, including representative's tla

 

Date signed
: MM /OD /Y¥YYY

Official Form 205 involuntary Patition Against a Non-Individual page 4
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

Debtor Case number (it mewn

Name and mailing address of petitioner

scs. Tactical Allocati FL A. Mitchell Greene
Printed: tl
OT. Ind

Name .
Robinson Brog Leinwand Greene
Cs

 

116 South Franklin Street Firm name, d any

 

 

 

 

Number Street
Rocky Mount sc 27804 . 875 Third Ave., 9th Fl.
City State ZIP Code : Number Street
.  _New York NY 10022-0123
City State ZIP Code

Name and mailing sddress of petitionar's representative, If any

Kat} M. H 1,2 3 : Contact phone

212-603-6399  «¢_,, ang@robinsonbrog.com

 

 

 

 

Name
116 South Franklin Street Bar number
Number Street
State ee
Rocky Mount ae.
City State ZIP Code

1 declare under penalty of perjury that the foregoing is true and correct. -.

x

 

 

Executedon oo
MM / OD fyYYY . Signature of attormay
- — 2 Date signed
Signature of petitioner or representative, including representative's title . MM /DD /¥yvyY

Name and mailing address of petitioner
A. Mitchell Greene

 

 

 

 

 

 

Name 1 itry-Shapixo o Printed name
: Robinson Brog Leinwand Greene
: Genovese & Gluck P.C.
40 Wal] Street, Suite 2939 . i i
Number — Street * “ Firm name, if any
New York NY 10005 875 Third Ave., 9th Fl,
City State FIP Code E Number Street
New_York NY 10022-0123

 

Name and mailing address of petitioner's representative, I any City State ZIP Code

Contact phone _242-603-6399 ¢,, amg@robinsonbrog.com

 

Joe Giamichael

 

 

 

 

Name
40 Wall Street, Suite 2839 Bar number
Number Street

State
New York _hy
City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct. -

02/05/2016 x

  

Executed on

4 MM /DD 1YYYY . : Signature of attorney"
YG [ :
xf EL foo
i oo oy o Date signed

Sighature of petitioner or representative, including repredentative’s title MM /OD 1¥YYY

Official Form 205 Involuntary Petition Against a Non-Individual page 4
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

 

dist petitioners, attach additional aneets. Write the alleged debtor:

 

Attorneys

4h. Mitchell Greene

Printed name . ‘,
Robinsen Brog Leinwand Greene :
_SeNOvese, & Laas P.. Gs. .

Firm name, if any

 

 

11212 B75 Third Ave., un Fi.
FP Code Number Street

 

_ New York
City

 

. Contact phone 212-603-6329 Email

 

 

“Bar number.

‘. State

 

 
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

Debtor

 

43. Each petitianer’s claim Name of petitioner

REDWOOD FUND IIi, LTD.

Case number titmewn)

Nature of petitioner's claim Amount of the claim

above the value of

 

 

any Hen
UNPAID NOTES $_115,000.00
$
oe US
Total of petitioners’ claims $516,848.58

if more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the Information required in Parts 3 and 4 of the form for each
additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner's attorney. Include the
statement under penalty of perjury set out In Part 4 of the form, followed by each additional petitioner's {or representative's} siqnature,

along with the signature of the petitioner's attorney.

Request for Ralief

 

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up {0
$600,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1919, and 3571.

Petitioners request that an order for relief be entered againsi the debtor under the chapter of 11 U.S.C. specified in this petition. Ifa
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 101 0b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the infermation In this document and have a reasonable belief that the information is true and correct.

Petitioners or Petitioners’ Representative

Name and mailing address of petitioner

REDWOOD FUND ITY, Lb.

Name

c/o Redwood Management, LLC
16850 Collins Ave., #112-341

 

 

Nuriber Street
Sunny Isles Beach FL 33360
Gity , State ZIP Code

Name and mailing address of petitioner's representative, if any

GARY ROGERS

Name

c/o Redwood Management, LLC
16850 Collins Ave., #112~-341

 

 

 

Number Street
Sunny Isles Beach FL 33160
City State ZIP Cade

       
 

1 declare under penalty of

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tjury that the foregoing is true and correct.

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Official Form 205

17 ativginciuding representative's titie

x

Attorneys

A. MITCHELL GREENE
Printed name

Rebinson Brog Leinwand Greene
Genovese & Gluck B.C.

Firm name, if any

 

875 Third Ave., 9th Fl.

 

 

Number Street
New York NY 10022-0123
City State ZIP Code

Contact phone 212-603-6399

Email amg@robinsonbrog.com

Bar number

 

State

  

 

r E ao}
Signature # attorney
Date signed

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Involuntary Petition Against a Non-tndividual page 3
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

GEMINI MASTER FUND, LTD.
c/o GEMINI STRATEGIES LLC Inc.
619 SOUTH VULCAN AVE., SUITE #203
ENCINITAS, CA 92024
Phone: 858.480.2828

January 8, 2016

Mr. Mitchell Greene
Robinson Brog et. al.
875 Third Avenue
New York, NY 10022

RE: Millennium Healthcare, Inc.

Dear Mr. Greene:

We are a creditor of Millennium Healthcare, Inc., which is obligated to us in the
unsecured amount of $228,478.25.

We hereby authorize you to file an involuntary Chapter 7 Bankruptcy Petition
against Millennium Healthcare, Inc.

Very truly yours,

Coyle Lil CUE

Gemini Master Fund, Ltd.

By: Gemini Strategies LLC Inc.
Its: Investment Manager

By: Steven Winters

Its: President
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
- - X
In re: Chapter 7

 

MILLENNIUM HEALTHCARE, INC.,
Case No.:

Debtor.

 

x
CORPORATE DISCLOSURE STATEMENT
Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the undersigned petitioning creditor in the above-captioned proceeding,
submits this corporate ownership statement, and does hereby certify that it does not

directly or indirectly owns 10% or more of any class of its equity interests.

GEMINI MASTER FUND, LTD.
By: Gemini Strategies
Its; Investment Manager

By: SAL LK Cee
Steven W. Winters
Its: President

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Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

STARBOARD INVESTMENT TRUST
116 South Franklin Street
Rocky Mount, North Carolina 27804

January 27, 2016

Clement Yee
Robinson Brog et.al.
875 Third Avenue
New York, NY 10022

RE: Millennium Healthcare, Inc.
Dear Mr. Yee:

SCS Tactical Allocation Fund (the “Fund”), a series of Starboard Investment Trust, is a
creditor of Millennium Healthcare, Inc. (“Millennium”), which is obligated to the Fund in the
unsecured amount of $40,232.56.

We hereby authorize you to file an involuntary Chapter 7 Bankruptcy Petition against
Millennium. :

Very truly yours,

SCS Tactical Allocation Fund,
A series of Starboard Investment Trust

By: Kit 42.

Katherind M. Honey x
President
Starboard Investment Trust
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter 7

MILLENNIUM HEALTHCARE, INC.,
Case No.:

Debtor.
-X

 

CORPORATE DISCLOSURE STATEMENT
Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the undersigned petitioning creditor in the above-captioned proceeding,
submits this corporate ownership statement, and does hereby certify that it does not

directly or indirectly own 10% or more of any class of its equity interests.

SCS Tactical Allocation Fund, a series of
The Starboard Investment Trust

By: b/ thforn, Lo

{ - D
Name: Katherine M. Honey
Title: President

foo77aae4.00c1 3617774
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

RE: Joe Giamichae! and Dmitriy Shapiro
Dear Mr. Greene:

We are a creditor of Millennium Healthcare, Inc, which is obligated to us in the
unsecured amount of $130,000.00.

We hereby authorize you to file an involuntary Chapter 7 Bankruptcy Petition against
Millennium Healthcare, Inc.

Very truly yours,

Joe canis) pA
By:

Creditor

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Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter 7

MILLENNIUM HEALTHCARE, INC.,
Case No.:

Debtor.
x

 

CORPORATE DISCLOSURE STATEMENT
Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the undersigned petitioning creditor in the above-captioned proceeding,
submits this corporate ownership statement, and does hereby certify that it does not

directly or indirectly owns 10% or more of any class of its equity interests.

[CREDITOR]

J OLA

By;_Joe Giamichael if
[SIGNATORY, TITLE]

By:_ Dmitriy Shapiro Kapero

[SIGNATORY, TITLE] _ |

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ursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy

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Revocable Trust

 
Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

Redwood Fund IIT, Ltd.

c/o Redwood Management, LLC
16850 Collins Ave #112-341

Sunny isles Beach Florida, 33160
305-466-1577
RE: Millennium Healtheare, Inc.

Dear Mr. Greene:

We are a creditor of Millennium Healthcare, Inc., which is obligated to us in the
unsecured amount of $115,000.00 plus accrued interest.

We hereby authorize you to file an involuntary Chapter 7 Bankruptcy Petition against
Millennium Healtheare, Inc.

Very truly yours,

Redwood Fund HI, Lid

By: Lf, th,

Gary Rogers/ Mahagef, Redwood Management
on behalf of Redwood Fund TIE, Ltd.

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Case o-Lo-/0004-reg Vocl Filed O¢Z/Vo/lo Entered Uz/Oo/10 LOtLsolo/

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Chapter 7

MILLENNIUM HEALTHCARE, INC.,
Case No.:

Debtor.

 

CORPORATE DISCLOSURE STATEMENT
Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, the undersigned petitioning creditor in the above-captioned proceeding,
submits this corporate ownership statement, and does hereby certify that it does not

directly or indirectly owns 10% or more of any class of its equity interests.

Redwood Fund III, Ltd.

Gan Roger$, Naor night, Redwood Management
on behalf of Redwood Fund Ul, Ltd.

qoor7seea.00c. 3617 774
